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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

GLORIA MITCHELL, individually and on           Case No. 1:16-cv-00076-BLW
behalf of all other similarly situated,

                   Plaintiff,                  STIPULATION TO EXTEND TIME
                                               FOR DEFENDANT TO FILE A REPLY
       v.                                      IN SUPPORT OF DEFENDANT’S
                                               MOTION TO DISMISS PLAINTIFF’S
WINCO FOODS, LLC, a Delaware limited           SECOND AMENDED COMPLAINT
liability company,
                                               [FIRST REQUEST]
                   Defendant.


       Plaintiff GLORIA MITCHELL and Defendant WINCO FOODS, LLC, by and through

their undersigned counsel, stipulate to extend time for Defendant to file a Reply in Support of

Defendant’s Motion to Dismiss Plaintiff’s Second Amended Complaint from the current

deadline of March 28, 2019, up to and including April 11, 2019. This extension is necessary in

order to provide adequate time for counsel for Defendant to receive and review necessary

information in order to reply in support of Defendant’s Motion to Dismiss Plaintiff’s Second

Amended Complaint.
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        This is the first request for an extension of time to file a Reply in support of Defendant’s

Motion to Dismiss Plaintiff’s Second Amended Complaint. This request is made in good faith

and not for the purpose of delay.

Dated: March 21, 2019                                Dated: March 21, 2019

Respectfully submitted,                              Respectfully submitted,



/s/ Steven L. Woodrow, Esq.                          /s/ Rick D. Roskelley, Esq.
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